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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                COLUMBIA DIVISION

UNITED STATES OF AMERICA                       )       Case No.: 3:21-CR-00525-MGL
                                               )
              v.                               )
                                               )
JEFFREY ALAN BENJAMIN                          )
                                               )

                            UNITED STATES’ MOTION TO SEAL

       NOW COMES the United States, by and through its undersigned counsel, and hereby

moves this Court to seal the forthcoming Government’s Renewed Motion to Disqualify Counsel

and attached exhibits. On November 12, 2020, the United States filed an ex parte motion to

disqualify the Defendant Jeffrey A. Benjamin’s (“Benjamin”) attorney, Mr. Bill Sullivan, and his

law firm from participating in the ongoing grand jury investigation. 3:20-mc-00504-MGL.

Thereafter, at the Court’s direction, the United States redacted, filed, and served its ex parte motion

on Mr. Sullivan. See In re: Matter Occurring Before Grand Jury 3, 3:20-mc-00504-MGL

(*SEALED*). On December 22, 2020, the United States filed a motion to withdraw its motion to

disqualify Mr. Sullivan and his law firm. Id. at Dkt. No. 10. However, in the motion to withdraw,

the United States outlined that Mr. Sullivan’s continued representation of Benjamin could present

additional conflicts under SCRPC 1.9 and therefore reserved its right to raise the arguments

contained within the motion to disqualify or any related issues at a later date. Id. The proceedings

remain under seal.

       The Government now renews its motion to disqualify Mr. Sullivan and his law firm and

hereby requests to file the motion under seal so that it may discuss freely the prior proceedings.

The prior proceedings were filed before the Court under seal during the course of a Grand Jury

investigation that culminated in Benjamin’s indictment. Because the public interest in open

proceedings is no longer outweighed by the Government’s need to maintain the secrecy of those
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proceedings, the Government does not oppose lifting the seal on both the prior motion in redacted

form and this renewed motion. The Government does, however, request that the Court unseal only

the redacted version of the prior motion for disqualification because the redactions reference grand

jury testimony. Moreover, the Government requests that the Court keep Exhibit 8 of the prior

filings sealed to maintain the secrecy of the grand jury testimony. Last, the Government requests

that the Court seal Exhibits 11, 12, 14a and 14b to this renewed motion as they include FBI reports

of interview that contain information that may potentially interfere with witness testimony. While

the Government requests that Exhibits 11, 12, 14a, and 14b remain under seal on the docket, we

do intend to provide those exhibits to opposing counsel.

                                             CONCLUSION

       For these reasons, the Government respectfully moves the Court to direct the sealing of the

Government’s Renewed Motion to Disqualify Counsel and attached exhibits until such time as the

Court deems it appropriate to unseal the related prior motion in redacted form, except that the

Government requests that Exhibit 8 of the original motion, as well as Exhibits 11, 12, 14a and 14b

of the renewed motion remain under seal.

                                      Respectfully submitted,

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                                      ACTING UNITED STATES ATTORNEY

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November 16, 2021
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